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MAY '* 5 2016
UNITED STATES DISTRICT COURT AT o'cLocK M
EASTERN DIsTRiCT oF WIsCoNsIN ~'ON W~ SANF'L“°P°' CLEF“‘
UNITED STATES OF AMERICA,
Plaintiff,
v. Case No. l6-CR-34
THERESA ANTHONY,
Defendant.
PLEA AGREEMENT
l. The United States of America, by its attorneys, Gregory J. Haanstad, United

States Attorney for the Eastern District of Wisconsin, and Jonathan H. Koenig, Assistant United
States Attorney, and the defendant, Theresa Anthony, individually and by attorney Susan
Karaskiewicz, pursuant to Rule ll of the Federal Rules of Criminal Procedure, enter into the
following plea agreement:

CHARGES

2. The defendant has been charged in a one-count indictment, Which alleges a
violation of Title 42, United States Code, Section 408(a)(5).

3. The defendant has read and fully understands the charge contained in the
indictment She fully understands the nature and elements of the crime With Which she has been
charged, and the charge and the terms and conditions of the plea agreement have been fully
explained to her by her attorney.

4. The defendant voluntarily agrees to plead guilty to the following count set forth in

full as follows:

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THE GRAND JURY CHARGES THAT:
1 . On or about March 18, 201], in the State and Eastern District of Wisconsin,
THERESA ANTHONY,
having made application to receive Supplemental Security Income (“SSI") payments for the use
and benefit of others, and having received such payments, knowingly and willfully converted
such payments to a use other than for the use and benefit of those persons.
2. SSI benefits are payable under Title XVI of the Social Security Act for aged, blind,
and disabled persons with little or no income or resources. A “representative payee” is an
individual or organization appointed by the Social Security Administration to receive and
manage the SSI benefits of another person.
3. T he defendant acted through an entity known as City Transformation, Ltd., which
successfully applied to serve as representative payee to receive and manage SSI benefit
payments on behalf of numerous beneficiaries in Milwaukee, Wisconsin. The defendant, in her
role as Executive Director of City Transformation, Ltd., was able to convert SSI payments
received by City Transformation, Ltd. and intended for the use and benefit of others to her own
use and that of City Transformation, Ltd.
4. Specifically, on or about March ]8, 2011, the defendant diverted SSI payments
from a collective representative payee account maintained by City Transformation, Ltd. to a
general business account maintained by City Transformation, Ltd., and then withdrew
approximately $22,3 64. 93 from that general account so that City Transformation, Ltd. could
purchase from the defendant real property located at 26)Q(N. 5 OIh Street in Milwaukee,
Wisconsin.

All in violation of Title 42, United States Code, Section 408(a)(5) and Title 18, United

States Code, Section 2.

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5. The defendant acknowledges, understands, and agrees that she is, in fact, guilty of
the offense described in paragraph 4. The parties acknowledge and understand that if this case
were to proceed to trial, the government would be able to prove the following facts beyond a
reasonable doubt. The defendant admits that these facts are true and correct and establish her
guilt beyond a reasonable doubt:

SSI benefits are payable under Title XVI of the Social Security Act for aged, blind, and
disabled persons with little or no income or resources. A “representative payee” or “rep payee”
is an individual or organization appointed by the Social Security Administration to receive and
manage the SSI benefits of another person.

Theresa Anthony was the Executive Director of City Transformation, Ltd. (“CT”), which
she incorporated as a non-stock corporation in 2006. In addition to providing rep-payee services,
such as bill-paying, for those unable to manage their own affairs, CT also offered various social
services such as drug and alcohol rehabilitation and assistance with food and housing.

Even before CT was formally incorporated, Anthony applied for CT to become an
organizational representative payee. At that time, in early 2006, Anthony met with a Social
Security Administration (“SSA”) Operations Supervisor concerning reporting requirements and
other obligations of an organizational representative patee She was provided a copy of a
representative payee guide that made clear, among other things, that SSI funds were not to be
used for anything other than the beneficiary’s use or benefit.

In mid-2007, CT obtained permission to charge a fee for service as to each beneficiary
under CT’s care.

By February of 201 l, CT was serving about 180 beneficiaries By this time, therefore,
Anthony had signed up many beneficiaries for CT’s rep payee services. Each time, she had to
acknowledge, that “I/my organization . .must use all payments made to me/my organization as
the representative payee for the claimant’s current needs or (if not currently needed) save them
for his/her future needs.”

There was also an SSA audit of CT in 2009, during which the importance of having
better accounting procedures was made clear to Ms. Anthony. The message was conveyed that
CT needed better controls so that the SSA could ensure that SSI payments were used for the use "
and benefit of the intended beneficiaries

Theresa Anthony and Gary Taylor (President of CT) were the only two with signature
authority on CT’s bank accounts at Landmark Credit Union. CT had individual accounts at
Landmark for each SSI beneficiary under its care. The SSA would electronically deposit funds
into those accounts every month. From there, the funds would be transferred by CT to a
“collective” representative payee account (account number 7).

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The creation of a collective account in which funds are co-mingled is not in itself
improper, but can complicate book-keeping to determine whether funds are being spent on
beneficiaries’ needs.

CT would transfer funds from the collective account to its general business account
(account number 9), from which it would pay all manner of expenses, including overhead
expenses, salary, and the like. Technically the only benefit-payment monies that ought to have
made their way into CT’s general account were the fees it could legitimately charge a beneficiary
for its rep-payee services (typically 332/month though sometimes more).

One particular set of transfers during March of 201 1 gives rise to the charge set forth in
the indictment As of March 18, 2011, the “collective” representative payee account (account
number 7) had a balance of approximately $34,000. This amount represented, in whole or in
part, funds that had been transferred over from the individual representative payee accounts. On
the first or second day of each month, beneficiaries received their SSI payments (often $674)
electronically and these funds were then transferred into the collective account from the
individual accounts. Thus, on March l, 2011, for example, a total of roughly $65,000 was
transferred into the collective account from the individual accounts. By March 18, 2011, as
noted, the balance was about $34,000.

On March 18, 2011, Theresa Anthony wrote and endorsed a series of 48 checks on the
collective account in the amounts of $500 or $450 (always exactly these amounts; never with
anything in the memo line) and at around 10:30 AM deposited all of them into CT’s general
account (number 9), The grand total of these deposits was $23,400. Prior to this deposit, the
balance in the general account was just $1,838.43.

Around 2:15 PM on the 18th, Anthony withdrew $22,364.93 from the replenished
general account in the form of a cashier’s check. The transaction record for this withdrawal
includes her signature and reflects that she showed her driver’s license. The cashier’s check
funded the purchase - by CT - of real estate owned by Anthony at 26XX N.50th Street in
Milwaukee, Documentation provided by the settlement agent for the transaction shows that
Theresa Anthony was the seller and CT the buyer of this real estate. It appears that Theresa
Anthony and Gary Taylor both attended the closing on the afternoon of thel Sth.

The March 18th transactions were part of an ongoing course of conduct by Anthony
involving the misuse of SSI funds, defined broadly as any use of those funds for a purpose other
than the benefit of the beneficiaries The SSA has catalogued a variety of ways in which SSI
funds were misused between 2008 and 2012. These included, but were not limited to, unverified
expenditures, failure to return unused funds to SSA (“conserved funds”), charging of
unauthorized fees, excessive tax-preparation fees charged to beneficiaries, undocumented
“clinical co-pays” for rehab services offered, and duplicate rent payments (CT was often both
landlord for beneficiaries and rep payee).

SSA calculates a total “misuse” amount of $251,559.30. This amount includes the
approximately $22,000 used on March 18, 2011 to fund the purchase of the property on N. 50th

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Street. SSA has made the SSI beneficiaries whole for these amounts and thus stands in their
shoes for purposes of restitution, as provided for more specifically below.

This information is provided for the purpose of setting forth a factual basis for the plea of
guilty. It is not a full recitation of the defendant’s knowledge of, or participation in, this offense.
PENALTIES
6. The parties understand and agree that the offense to which the defendant will
enter a plea of guilty carries the following maximum term of imprisonment and fine: five years
and $250,000. The count also carries a mandatory special assessment of $100, and a maximum
of three years of supervised release. The parties further recognize that a restitution order may be
entered by the court. The parties’ acknowledgments, understandings, and agreements With
regard to restitution are set forth in paragraph 28 of this agreement
7. The defendant acknowledges, understands, and agrees that she has discussed the
relevant statutes as Well as the applicable sentencing guidelines with her attomey.
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8. The parties understand and agree that in order to sustain the charge as set forth in
the indictment, the government must prove each of the following propositions beyond a
reasonable doubt:
First, the defendant knoneg and Willfully converted to an unauthorized use;

Second, an SSI benefit payment, or any part of a benefit payment;
Third, accepted on behalf of another

 

 

SENTENCING PROVISIONS
9. The parties agree to Waive the time limits in Fed. R. Crim. P. 32 relating to the
presentence report, including that the presentence report be disclosed not less than 35 days
before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

obj ections, to be established by the court at the change of plea hearing.
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10. The parties acknowledge, understand, and agree that any sentence imposed by the
court Will be pursuant to the Sentencing Reform Act, and that the court Will give due regard to
the Sentencing Guidelines When sentencing the defendant

ll. The parties acknowledge and understand that prior to sentencing the United States
Probation Office will conduct its own investigation of the defendant’s criminal history. The
parties further acknowledge and understand that, at the time the defendant enters a guilty plea,
the parties may not have full and complete information regarding the defendant’s criminal
history. The parties acknowledge, understand, and agree that the defendant may not move to
Withdraw the guilty plea solely as a result of the sentencing court’s determination of the
defendant’s criminal history.

Sentencing Guidelines Calculations

12. The defendant acknowledges and understands that the sentencing guidelines
recommendations contained in this agreement do not create any right to be sentenced Within any
particular sentence range, and that the court may impose a reasonable sentence above or below
the guideline range. The parties further understand and agree that if the defendant has provided
false, incomplete, or inaccurate information that affects the calculations, the government is not
bound to make the recommendations contained in this agreement

Relevant Conduct

13. The parties acknowledge, understand, and agree that pursuant to Sentencing
Guidelines Manual § lBl .3, the sentencing judge may consider relevant conduct in calculating
the sentencing guidelines range, even if the relevant conduct is not the subject of the offense to

Which the defendant is pleading guilty.

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Base Offense Level

14. The parties acknowledge and understand that the government will recommend to
the sentencing court that the applicable base offense level for the offense charged in the
information is 6 under Sentencing Guidelines Manual § 2B1.1 (a) (2) and that a 12-level increase
is applicable under Sentencing Guidelines Manual § 2B1.1 (b) (1) (G) based on a loss from the
charged offense, and all relevant conduct, of more than $250,000.

Specific Offense Characteristics

15. The parties acknowledge and understand that the government will recommend to
the sentencing court that a two-level adjustment is applicable under Sentencing Guidelines
Manual § 3Bl .3, as the defendant held a position of private trust that facilitated her ability to
commit and conceal the criminal conduct.

16. The parties acknowledge and understand that the government will recommend to
the sentencing court that a two-level adjustment is applicable under Sentencing Guidelines
Manual § 2B l . l(b)(2)(A)(i), as the offense involved more than ten victims.

Role in the Offense

17. Pursuant to Sentencing Guidelines Manual §§ 3B1.1/ 3B1.2, the parties agree to
recommend to the sentencing court that no adjustment be given for an aggravating or mitigating
role in the offense.

Acceptance of Responsibility

18. The government agrees to recommend a two-level decrease for acceptance of
responsibility as authorized by Sentencing Guidelines Manual § 3El .l(a), but only if the
defendant exhibits conduct consistent with the acceptance of responsibility. In addition, if the
court determines at the time of sentencing that the defendant is entitled to the two-level reduction

under § 3E1.l(a), the government agrees to make a motion recommending an additional one-

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level decrease as authorized by Sentencing Guidelines Manual § 3El.1(b) because the defendant
timely notified authorities of her intention to enter a plea of guilty.
Sentencing Recommendations

19. Both parties reserve the right to provide the district court and the probation office
with any and all information which might be pertinent to the sentencing process, including but
not limited to any and all conduct related to the offense as well as any and all matters which
might constitute aggravating or mitigating sentencing factors.

20. Both parties reserve the right to make any recommendation regarding any other
matters not specifically addressed by this agreement '

21. The government agrees to recommend a sentence of imprisonment of no more
than 16 months, to be followed by three years’ supervised release.

Court’s Determinations at Sentencing

22. The parties acknowledge, understand, and agree that neither the sentencing court
nor the United States Probation Office is a party to or bound by this agreement The United
States Probation Office Will make its own recommendations to the sentencing court. The
sentencing court Will make its own determinations regarding any and all issues relating to the
imposition of sentence and may impose any sentence authorized by law up to the maximum
penalties set forth in paragraph 6 above. The parties further understand that the sentencing court
Will be guided by the sentencing guidelines but will not be bound by the sentencing guidelines
and may impose a reasonable sentence above or below the calculated guideline range,

23. The parties acknowledge, understand, and agree that the defendant may not move

to Withdraw the guilty plea solely as a result of the sentence imposed by the court.

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FINANCIAL MATTERS

24. The defendant acknowledges and understands that any and all financial
obligations imposed by the sentencing court are due and payable in full upon entry of the
judgment of conviction The defendant agrees not to request any delay or stay in payment of any
and all financial obligations If the defendant is incarcerated, the defendant agrees to participate
in the Bureau of Prisons’ Inmate Financial Responsibility Program, regardless of Whether the
Court specifically directs participation or imposes a schedule of payments

25. The defendant agrees to provide to the Financial Litigation Unit (FLU) of the
United States Attorney’s Office, at least 30 days before sentencing, and also upon request of the
FLU during any period of probation or supervised release imposed by the court, a complete and
sworn financial statement on a form provided by FLU and any documentation required by the
form. The defendant further agrees, upon request of FLU whether made before or after
sentencing, to promptly: cooperate in the identification of assets in Which the defendant has an
interest, cooperate in the liquidation of any such assets, and participate in an asset deposition.

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26. The parties agree to recommend to the sentencing court that no fine be imposed

against the defendant
Special Assessment

27. The defendant agrees to pay the special assessment in the amount of $100.00 prior

to or at the time of sentencing
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28. The defendant, pursuant to Title 18, United States Code, Section 3633(a)(3), in

order to make the Social Security Administration whole for the entire course of conduct outlined

in Paragraph 5, agrees to pay restitution in the amount of $251,559.30 to:
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Social Security Administration
Debt Management Section
Attn: Court Refund

PO Box 2861

Philadelphia, PA 19122

29.

The parties agree to advise the sentencing court that as of the date of this

agreement, the defendant has paid restitution in the amount of $

30.

DEFENDANT’S WAIVER OF RIGHTS

In entering this agreement, the defendant acknowledges and understands that she

surrenders any claims she may have raised in any pretrial motion, as Well as certain rights Which

include the following:

a.

lf the defendant persisted in a plea of not guilty to the charges against her, she
would be entitled to a speedy and public trial by a court or jury. The defendant
has a right to a jury trial. However, in order that the trial be conducted by the
judge sitting Without a jury, the defendant, the government and the judge all
must agree that the trial be conducted by the judge without a jury,

lf the trial is a jury trial, the jury would be composed of twelve citizens
selected at random. The defendant and her attorney Would have a say in who
the jurors Would be by removing prospective jurors for cause where actual
bias or other disqualification is shown, or Without cause by exercising
peremptory challenges The jury Would have to agree unanimously before it
could return a verdict of guilty. The court would instruct the jury that the
defendant is presumed innocent until such time, if ever, as the government
establishes guilt by competent evidence to the satisfaction of the jury beyond a
reasonable doubt

If the trial is held by the judge without a jury, the judge would find the facts
and determine, after hearing all of the evidence, Whether or not he Was
persuaded of defendant’s guilt beyond a reasonable doubt

At such trial, whether by a judge or a jury, the government would be required
to present Witnesses and other evidence against the defendant The defendant
Would be able to confront witnesses upon whose testimony the government is
relying to obtain a conviction and she would have the right to cross-examine
those Witnesses ln turn the defendant could, but is not obligated to, present
Witnesses and other evidence on her own behalf. The defendant Would be
entitled to compulsory process to call Witnesses

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e. At such trial, defendant would have a privilege against self-incrimination so
that she could decline to testify and no inference of guilt could be drawn from
her refusal to testify. lf defendant desired to do so, she could testify on her
own behalf.

31. The defendant acknowledges and understands that by pleading guilty she is
waiving all the rights set forth above. The defendant further acknowledges the fact that her
attorney has explained these rights to her and the consequences of her waiver of these rights. The
defendant further acknowledges that as a part of the guilty plea hearing, the court may question
the defendant under oath, on the record, and in the presence of counsel about the offense to
which the defendant intends to plead guilty. The defendant further understands that the
defendant’s answers may later be used against the defendant in a prosecution for perjury or false
statement

32. The defendant acknowledges and understands that she will be adjudicated guilty
of the offense to which she will plead guilty and thereby may be deprived of certain rights,
including but not limited to the right to vote, to hold public office, to serve on a jury, to possess
firearms, and to be employed by a federally insured financial institution

33. The defendant knowingly and voluntarily waives all claims she may have based
upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth
Amendment. The defendant agrees that any delay between the filing of this agreement and the
entry of the defendant’s guilty plea pursuant to this agreement constitutes excludable time under
the Speedy Trial Act

34. Based on the government’s concessions in this agreement, the defendant
knowingly and voluntarily waives her right to appeal her sentence in this case and further waives

her right to challenge her conviction or sentence in any post-conviction proceeding, including but

not limited to a motion pursuant to 28 U.S.C. § 2255. This waiver does not extend to an appeal

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or post-conviction motion based on (l) any punishment in excess of the statutory maximum, (2)
the sentencing court’s reliance on any constitutionally impermissible factor, and (3) ineffective
assistance of counsel.

Further Civil or Administrative Action

35. The defendant acknowledges, understands, and agrees that the defendant has
discussed with her attorney and understands that nothing contained in this agreement, including
any attachment, is meant to limit the rights and authority of the United States of America or any
other state or local government to take further civil, administrative, or regulatory action against
the defendant, including but not limited to any listing and debarment proceedings to restrict
rights and opportunities of the defendant to contract With or receive assistance, loans, and
benefits from United States government agencies

GENERAL MATTERS

36. The parties acknowledge, understand, and agree that this agreement does not
require the government to take, or not to take, any particular position in any post-conviction
motion or appeal.

37. The parties acknowledge, understand, and agree that this plea agreement Will be
filed and become part of the public record in this case. The parties acknowledge, understand, and
agree that the United States Attomey’s office is free to notify any local, state, or federal agency
of the defendant’s conviction

38. The defendant understands that pursuant to the Victim and Witness Protection
Act, the Justice for All Act, and regulations promulgated thereto by the Attomey General of the
United States, the victim of a crime may make a statement describing the impact of the offense

on the victim and further may make a recommendation regarding the sentence to be imposed.

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The defendant acknowledges and understands that comments and recommendations by a victim
may be different from those of the parties to this agreement
EFFECT OF DEFENDANT’S BREACH OF PLEA AGREEMENT

39. The defendant acknowledges and understands if she violates any term of this
agreement at any time, engages in any further criminal activity prior to sentencing, or fails to
appear for sentencing, this agreement shall become null and void at the discretion of the
govemment. The defendant further acknowledges and understands that the govemment’s
agreement to dismiss any charge is conditional upon final resolution of this matter. lf this plea
agreement is revoked or if the defendant’s conviction ultimately is overturned, then the
government retains the right to reinstate any and all dismissed charges and to file any and all
charges which were not filed because of this agreement The defendant hereby knowingly and
voluntarily waives any defense based on the applicable statute of limitations for any charges filed
against the defendant as a result of her breach of this agreement The defendant understands,
however, that the government may elect to proceed with the guilty plea and sentencing. If the
defendant and her attorney have signed a proffer letter in connection with this case, then the

defendant further acknowledges and understands that she continues to be subject to the terms of

the proffer letter.
VOLUNTARINESS OF DEFENDANT’S PLEA
40. The defendant acknowledges, understands, and agrees that she will plead guilty

freely and voluntarily because she is in fact guilty. The defendant further acknowledges and
agrees that no threats, promises, representations, or other inducements have been made, nor
agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.

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ACKNOWLEDGMENTS

I am the defendant I am entering into this plea agreement freely and voluntarily. I am not now
on or under the influence of any drug, medication, alcohol, or other intoxicant or depressant,
whether or not prescribed by a physician, which would impair my ability to understand the terms
and conditions of this agreement My attorney has reviewed every part of this agreement with me
and has advised me of the implications of the sentencing guidelines I have discussed all aspects
of this case with my attorney and I am satisfied that my attorney has provided effective
assistance of counsel.

Date;v/ § /¢?

 

 

I am the defendant’s attorney. I carefully have reviewed every part of this agreement With the
defendant To my knowledge, my client’s decision to enter into this agreement is an informed
and voluntary one.

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,/ /// .
SUSAN KARASKIEWICZ y
Attomey for Defendant

For the United States of America:

Date: 52 §VZ /(/ %M/l/\K//

/¢` GREGoRY J. HAANSTAD
United States Attomey

Date: 5/5/|[¢ WMM/l fl/ Z<

JoNATHAN H.'K`oENIG
Assistant United States Attomey

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